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 6
     Counsel for Plaintiffs, Trustees of the Southern California
     Pipe Trades Health and Welfare Trust Fund, et al.
 7

 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   TRUSTEES OF THE SOUTHERN                      CASE NO.: 8:18-cv-01914 JVS (DFMx)
     CALIFORNIA PIPE TRADES HEALTH
12   AND WELFARE TRUST FUND, et al,                ASSIGNED TO THE HONORABLE
                                                   JAMES V. SELNA
13
                        Plaintiffs,
14                                         REPLY TO STANTON UTILITIES,
                  v.                       INC.’S PARTIAL OPPOSITION TO
15                                         MOTION TO ENFORCE
     STANTON UTILITIES, INC., a California SETTLEMENT
16   corporation; et al.,
17                                         Hearing:
                          Defendants.
18                                         Date:    May 18, 2020
                                           Time:    1:30 p.m.
19                                         Ctrm.:   10C
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 1       I.       THE COURT SHOULD ENFORCE THE SETTLEMENT, ENTER
 2                JUDGMENT, AND IMPOSE SANCTIONS.
 3             Legal counsel for Stanton Utilities, Inc. (“Stanton”) admits that all parties
 4   reached a settlement with the Trustees of the Southern California Pipe Trades Health
 5   and Welfare Trust Fund, et al. (“Trustees”) for $85,000.00, plus 8% interest, and that
 6   judgment should be entered. Stanton also does not dispute that sanctions should be
 7   imposed. The crux of Stanton’s argument is that the amount sought by the Trustees
 8   for sanctions is excessive and should be based upon a formula under Local Rule 55-3.
 9   However, Local Rule 55-3 is inapplicable to the present situation because the rule
10   applies in the context of calculating attorneys’ fees in motions for default judgment.
11   In this case, the Trustees are seeking to enforce a settlement, and to make the Trustees
12   whole for the attorneys’ fees incurred due to Stanton’s and Leonard’s bad faith
13   conduct related to the settlement and concluding the litigation. The sanctions are not
14   excessive because the amount compensates the Trustees for fees incurred.
15             It is irrelevant that legal counsel for Stanton regrets that a motion to enforce the
16   settlement became necessary. The fact remains that as a result of having to enforce
17   the settlement, the Trustees have incurred an additional $16,000.00 for attorneys’ fees
18   since December 2019. Decl. Decker, ¶ 23. The magnitude of e-mail correspondence
19   between counsel (Decl. Decker: Exs. A to K) demonstrates the efforts taken by the
20   Trustees to follow through with the previously agreed upon settlement. Stanton’s and
21   Leonard’s behavior and refusal to complete the agreed upon terms is inexcusable.
22   Legal counsel for Stanton offers no explanation as to why Stanton failed to execute
23   settlement documents and to comply with the terms it agreed to. This is a case where
24   the Court should exercise its discretion and award attorneys’ fees to reimburse the
25   Trustees for fees incurred associated with enforcing the settlement.
26       II.      CONCLUSION.
27             The Trustees respectfully request that the Court grant the Plaintiffs’ Motion to
28   Enforce the Settlement and enter judgment in favor of the Trustees and against

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 1   Stanton and Leonard in the amount of $85,000.00, plus 8% interest as set forth in the
 2   proposed judgment. The Trustees also request that the Court sanction both Stanton
 3   and Leonard for their bad faith conduct in refusing to execute and return all settlement
 4   documents, and award the Trustees fees incurred of $16,000.00 as sanctions.
 5

 6    Dated: May 4, 2020             LAQUER URBAN CLIFFORD & HODGE LLP
 7

 8                                   By:    /s/ Marija Kristich Decker
                                            Marija Kristich Decker
 9                                          Counsel for Plaintiffs Trustees of the Southern
                                            California Pipe Trades Health and Welfare
10                                          Trust Fund, et al.
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 1                                     PROOF OF SERVICE
 2                   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3         I am employed in the County of Los Angeles, State of California. I am over the
 4
     age of 18, and not a party to the within action. My business address is: 225 South
     Lake Avenue, Suite 200, Pasadena, California 91101-3030.
 5
               On May 4, 2020, I served the foregoing document(s) described below:
 6
         REPLY TO STANTON UTILITIES, INC.’S PARTIAL OPPOSITION TO
 7
                    MOTION TO ENFORCE SETTLEMENT
 8
     on the interested parties in this action by placing a true copy thereof in a sealed
 9
     envelope(s) addressed to:
10
     Patrick Leonard                                 Defendant
11   10581 Chestnut Ave.
     Stanton, CA 90680
12
     XXX (BY MAIL) I caused said envelope(s) with first class postage prepaid to be
13
     placed in the United States mail at Pasadena, California.
14
     ____ (BY PERSONAL SERVICE) I caused said envelope(s) to be delivered by hand
15   to the office or the residence of the addressee as shown above.
16   ____ (BY FACSIMILE TRANSMISSION) I caused a true and complete copy of the
17   document described above to be transmitted by facsimile transmission to the telephone
     number(s) set forth opposite the name(s) of the person(s) set forth above.
18
     ____ (BY OVERNIGHT DELIVERY) I caused said envelope(s) with prepaid delivery
19
     charges to be placed in the UPS Box at Pasadena, California.
20
               Executed on May 4, 2020, at Pasadena, California.
21
     ____ (STATE) I declare under penalty of perjury under the laws of the State of
22   California that the foregoing is true and correct.
23   XXX (FEDERAL) I declare that I am employed by a member of the Bar of this Court,
24   and that this service was made under the supervision of said attorney.
25
26                                              /s/ - Cheryl Roberts
                                                      Cheryl Roberts
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                                            PROOF OF SERVICE
     1447303
